             Case 6:23-bk-04081-TPG              Doc 106      Filed 04/15/24       Page 1 of 2

[jiffyordnh] [Bench Order No Hearing +]



                                             ORDERED.
   Dated: April 15, 2024




                                     UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                             ORLANDO DIVISION
                                             www.flmb.uscourts.gov



In re:                                                                     Case No. 6:23−bk−04081−TPG
                                                                           Chapter 11

Evolution Micro LLC




________Debtor*________/


  ORDER GRANTING MOTION TO ALLOW REMOTE APPEARANCE BY BRIAN T. PETERSON
                  FOR HEARING SCHEDULED FOR APRIL 17, 2024

             THIS CASE came on for consideration without a hearing of the Motion to Allow Remote
         Appearance by Brian T. Peterson for Hearing Scheduled for April 17, 2024 (Doc. 105 ),
         filed by Creditor Amazon.com Services LLC .

            The Court having considered the record, the Motion to Allow Remote Appearance by Brian T.
         Peterson for Hearing Scheduled for April 17, 2024 is Granted .

            To register for a remote appearance via Zoom, enter the following web address into a
         browser:

         https://www.zoomgov.com/meeting/register/vJIscOCurjgiHQ0GwJfCq2KLa−bMTntrxmo#/registration

            The Court in its discretion may file written findings of facts and conclusions of law at a later
         date.

            Service Instructions:

            Attorney Carly Everhardt is directed to serve a copy of this order on interested non−CM/ECF
         users and file a proof of service within three (3) days of entry of the order.
    Case 6:23-bk-04081-TPG              Doc 106      Filed 04/15/24        Page 2 of 2

*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by
two individuals.
